                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 CADENCE BANK f/k/a                               §
 BANCORPSOUTH BANK and                            §
 CENTURY BANK,                                    §
                                                  §
 Plaintiffs,                                      §
                                                  §
 v.                                               §
                                                  §
 BRIDGELINK ENGINEERING, LLC;                     §
                                                    Civil Action No 4:23-CV-00609-BJ
 COLE WAYNE JOHNSON, CORD                         §
 HENRY JOHNSON, BIGHORN                           §
 CONSTRUCTION AND                                 §
 RECLAMATION, L.L.C.; BIGHORN                     §
 SAND & GRAVEL LLC, BIGHORN                       §
 INVESTMENTS AND PROPERTIES,                      §
 LLC,                                             §
                                                  §
 Defendants.                                      §


                   PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT


        Cadence Bank f/k/a BANCORPSOUTH BANK and Century Bank (collectively, the

“Plaintiffs”) hereby file their Motion for Summary Judgment (the “Motion”) against Bridgelink

Engineering, LLC (the “Borrower”), Cole Wayne Johnson, Cord Henry Johnson, Bighorn

Construction and Reclamation, L.L.C., Bighorn Sand & Gravel, LLC, Bighorn Investments and

Properties, LLC (collectively, the “Guarantors”) in accordance with Federal Rule of Civil

Procedure 56 and in support thereof respectfully represent as follows:

        1.      In this Motion, Plaintiffs seek summary judgement on: (a) their claims against the

Borrower on its claim to recover on a promissory note that Borrower executed in favor of Plaintiffs;

and (b) their claims against the Guarantors of the guaranty agreements the Guarantors executed in

favor of Plaintiffs.



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       2.      Plaintiffs are entitled to summary judgment against the Borrower and Guarantors

because Plaintiffs can prove each element of their claims. See Fed. R. Civ. P. 56(a).

       3.      Pursuant to Local Rule 56.3(b) of the Local Rules of the Northern District of Texas,

Plaintiffs set out the arguments and authorities and all other matts required by Local Rule 56.3(a)

in its Brief in Support of Motion for Summary Judgment, filed concurrently with this Motion. All

supporting evidence and materials are contained in an Appendix of Evidence, also filed

concurrently with this Motion.

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully submit that they are

entitled to summary judgment on their affirmative claims against the Borrower and Guarantors,

and therefore should be awarded judgment in this case, in addition to all reasonable and necessary

attorneys’ fees and costs incurred in bringing this lawsuit.




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                                            Respectfully submitted,

                                            OTTESON SHAPIRO LLP

                                           By: /s/ John C. Leininger
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                                            ATTORNEYS FOR CADENCE BANK

                                CERTIFICATE OF SERVICE

      I hereby certify that on the 1st day of April, 2024, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF.

                                           By: /s/ John C. Leininger
                                               John C. Leininger




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